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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR15-348 RSL

10          v.                                           DETENTION ORDER

11 MARIA SANDOVAL,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is charged with a crime that carries a presumption of detention and has failed

18 to overcome that presumption. The government proffered that defendant is a drug trafficking

19 courier who brought drugs from California to Washington. After her delivery, her car was

20 stopped and over $370,000 was found hidden inside. Defendant has strong ties to Mexico and

21 was arrested at the U.S. border in November, 2015 as she was returning from Mexico. When she

22 was arrested, the sister of the lead co-defendant took custody of defendant’s minor children and

23 took them to live in Mexico. Defendant’s ex-husband currently lives in Mexico. The lead co-



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 1 defendant is still a fugitive at large.

 2          It is therefore ORDERED:

 3          (1)     Defendant shall be detained pending trial and committed to the custody of the

 4 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 5 from persons awaiting or serving sentences, or being held in custody pending appeal;

 6          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 7 counsel;

 8          (3)     On order of a court of the United States or on request of an attorney for the

 9 Government, the person in charge of the correctional facility in which Defendant is confined

10 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

11 connection with a court proceeding; and

12          (4)     The Clerk shall provide copies of this order to all counsel, the United States

13 Marshal, and to the United States Probation and Pretrial Services Officer.

14          DATED this 4th day of January, 2016.

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                                                                  A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
